              Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 1 of 7



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 6                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                   OAKLAND DIVISION
 8
     RALPH PETERSON, M.D.,                         )   Case No.: 3:21-cv-04908-WHO
 9                                                 )
             Plaintiff,                            )
10   v.                                            )   PLAINTIFF'S EX PARTE
                                                   )   APPLICATION FOR ORDER TO
11   SUTTER BAY MEDICAL FOUNDATION;                )   EXTEND TIME FOR
     SUTTER BAY HOSPITALS;                         )   PLAINTIFF TO FILE OPPOSITION TO
12   NEIL STOLLMAN, M.D.,                          )   MOTION TO DISMISS FILED BY MICHAEL
     ROD PERRY, M.D., PHILIP RICH, M.D.            )   BISHOP, SHARON LEVINE, HEDY
13   CATHY L. LOZANO (Board Investigator),         )   CHANG, RICHARD FANTOZZI, DEV
     KRISTINA LAWSON, (Board Member)               )   GNANEDEV, RANDY HAWKINS,
14   HOWARD KRAUSS, M.D., (Board Member)           )   HOWARD KRAUSS, KRISTINA
     RANDY HAWKINS, M.D., (Board Member)           )   LAWSON, RONALD LEWIS, LAURIE ROSE
15   RICHARD D. FANTOZZI, M.D. ,(Board Member) )       LUBIANO, ASIF MAHMOOD, PINES,
     HEDY CHANG (Former Board Member),             )   EVELYN "GERRIE"SCHIPSKE, RICHARD
16   DEV GNANADEV, M.D., (Board Member)            )   THORP, ESERICK WATKINS, LINDA
     RONALD LEWIS, M.D., (Board Member)            )   WHITNEY, WRIGHT, and FELIX YIP
17   LAURIE ROSE LUBIANO,(Board Member)            )
     ASIF MAHMOOD, M.D.(Board Member)              )   (First Request)
18   RICHARD THORP, M.D.,(Board Member)            )
     ESERICK WATKINS, (Board Member)               )   Current Due Date: 12/3/2021
19   FELIX YIP, M.D.(Board Member)                 )   Proposed Due Date: 12/17/2021
     DENISE PINES (Former V.P of Board),           )
20    MICHAEL BISHOP, (former Secretary of Board), )
     SHARON LEVINE, M.D. (Former Board Member), )
21   EVELYN “GERRIE” SCHIPSKE,                     )
     (Former Board Member)                         )
22
     JAMIE WRIGHT, (Former Board Member),          )
     LINDA WHITNEY & DOES 1-10.                    )
23
                                                   )
24           Defendants.                           )
     __________________________________________ )
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28   MOTION EXTEND TIME                                1                 CASE NO.: 3:21-CV-04908-WHO
             Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 2 of 7



 1         Plaintiff, Ralph Peterson, M.D. by and through his attorneys of record, hereby
 2   moves this court for a 14 (fourteen) day extension of time to and including December
 3   17, 2021 file his opposition to the Motion to Dismiss filed on behalf of Defendants
 4   Michael Bishop, Sharon Levine, Hedy Chang, Richard Fantozzi, Dev Gnanedev,
 5   Randy Hawkins, Howard Krauss, Kristina Lawson, Ronald Lewis, Laurie Rose
 6   Lubiano, Asif Mahmood, Denise Pines, Evelyn "Gerrie" Schipske, Richard Thorp,
 7   Eserick Watkins, Linda Whitney, Jamie Wright, and Felix Yip and(hereinafter referred
 8   to as “State Board Defendants”) .This Motion is made pursuant to L.R. 7-11, the
 9   following memorandum of points and authorities and pleadings on filed herein. This
10   is the first request for an extension regarding this motion.
11                                           FACTS
12   a.    Introduction
13         This action arises from the ongoing wrongful conduct of the California Medical
14   Board (“CMB”) and Sutter Bay Medical Foundation against the Plaintiff Dr. Ralph
15   Peterson. Dr. Peterson is an Afro-American medical doctor who practices in
16   Oakland, California, who advocates for and serves Oakland’s indigent and under
17   served MediCal community . First Amended Complaint at ¶57. Sutter Bay Medical
18   Foundation operates as Sutter Health (“Sutter”) and controls and owns a network of
19   24 hospitals. First Amended Complaint at ¶39.         In the Complaint that was filed on
20   June 26, 2021, and amended on November 6, 2021 to correct the name of the
21   Defendant Sutter Bat Medical Foundation and the spelling of the name of Defendant
22   Philip Rich. Plaintiff alleges that “Sutter monopolizes and controls healthcare and
23   medical discipline in Northern California through the use of a number of unlawful
24   strategies (“Sutter’s MediCal Strategy”) to finance and operate its consolidation and
25   monopoly of Northern California healthcare”. First Amended Complaint at ¶40 .
26   Plaintiff further alleges that “Sutter uses medical discipline to control physician
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28   MOTION EXTEND TIME                         2                   CASE NO.: 3:21-CV-04908-WHO
             Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 3 of 7



 1   referrals, acquisition of physician practices and to punish non-cooperating physicians
 2   thereby undermining their credibility as a witness and destroying their medical
 3   practices. Sutter controls medical discipline by strategic placement of its “cooperating
 4   or compliant physicians” and/or attorneys on institutional peer review panels and the
 5   California Medical Board “CMB”.          Sutter’s peer review panels and the CMB
 6   participated in strategic discipline used to divert its own malpractice onto Dr. Peterson
 7   and other uncooperative physicians. As a result of its "MediCal Strategy", Sutter
 8   performed only profitable procedures, steering away unprofitable procedures to county
 9   medical facilities. Revenues generated from Sutter's "MediCal Strategy" were used to
10   pay unlawful "kickbacks" and to acquire physician medical practices. Sutter's
11   "MediCal Strategy"      violated Federal and State law which prohibits physician
12   "kickbacks" which corrupt competent medical treatment decisions resulting in more
13   expensive, unnecessary and/or harmful care being provided to vulnerable patients.
14   Id at 41-46.
15         Starting at least as early as 2013, Sutter was the subject of a California Attorney
16   General investigation concerning the unlawful payment of "kickbacks" to its compliant
17   physicians. At the same time, a separate investigation was being conducted into the
18   "CMB" discrimination against African American and Hispanic physicians.            On or
19   about November 18, 2019, the California Attorney General's office found that Sutter's
20   physician referral payment programs violated "Stark" statutes and that Sutter had been
21   reimbursed for the physician "kickbacks" by MediCal. On or about December 20,
22   2019, Sutter agreed to pay out $575 million in damages and to have its business
23   operations monitored for 10 years as part of a settlement with the State of California
24   in AG Becerra's anti-competitive action against the hospital First Amended Complaint
25   at ¶¶130-131.    The settlement was approved by the Superior Court of California,
26   County of San Francisco on August 27, 2021.
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28   MOTION EXTEND TIME                         3                 CASE NO.: 3:21-CV-04908-WHO
             Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 4 of 7



 1         Neither the "kickback" nor discrimination investigations were ever disclosed to
 2   Dr. Peterson. First Amended Complaint at ¶102. Dr. Peterson did not learn about
 3   these investigations until the airing of a December 2020 report by 60 Minutes.
 4   Defendants had concealed these investigations and conflicts through confidential
 5   settlements and false declarations paying "kickbacks" and threatening other witnesses
 6   with discipline. First Amended Complaint at ¶¶108-109 . Plaintiff’s First Amended
 7   Complaint alleges that “Sutter targeted Dr. Peterson because he refused to accept
 8   kickbacks for steering/overbilling and he educated Oakland's indigent and under served
 9   patients about their MediCal rights. Sutter has used the disciplinary process to stifle
10   Dr. Peterson's patient advocacy and education by initiating unfounded disciplinary
11   actions and spreading false rumors regarding the quality of care provided through his
12   medical practice. First Amended Complaint 144-145. The First Amended Complaint
13   contains a detailed history of the conduct of the defendants that is the basis for the
14   following seventeen causes of action alleged in the First Amended Complaint:
15   b.    Board Defendants’ Motion to Dismiss First Amended Complaint .
16         On November 19, 2021, defendants Michael Bishop, Hedy Chang, Richard
17   Fantozzi, Dev Gnanedev, Randy Hawkins, Howard Krauss, Kristina Lawson, Ronald
18   Lewis, Laurie Rose Lubiano, Asif Mahmood, Denise Pines, Evelyn "Gerrie" Schipske,
19   Richard Thorp, Eserick Watkins, Linda Whitney, Jamie Wright, Felix Yip filed a
20   Motion to Dismiss the First Amended Complaint (“State Board Defendants”) (ECF #
21   60). The Opposition / Response to the motions is due December 3, 2021, with the
22   hearing for the motion set for January 5, 2022.
23         Plaintiffs counsel is unable to file his opposition the Motion to Dismiss by the
24   current due date. Plaintiff is represented by the Mirch Law Firm, which consists of two
25   attorneys, Kevin and Marie Mirch. The Mirches work remotely without support staff.
26   Plaintiff’s counsel has recently encountered severe end-of-life medical health issues
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28   MOTION EXTEND TIME                        4                 CASE NO.: 3:21-CV-04908-WHO
              Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 5 of 7



 1   with close family members that have taken them from their work duties including
 2   preparation of the opposition to the Board Defendants’ motion. Plaintiff’s counsel
 3   could not foresee the numerous serious health issues of close family members that were
 4   forthcoming. Mr. and Ms. Mirch has been involved with a number of serious medical
 5   health issues with close family members that have taken time away from their legal
 6   duties. Specifically, they learned in late October that her sister was diagnosed with
 7   cancer. Initially, the type and severity was not known. On October 29, 2021, Ms.
 8   Mirch was told her sister had two weeks to live. Mr. and Mrs. Mirch planned to travel
 9   to see her sister the next week, but were unable to because of the hospital’s restrictions
10   on visitors because of Covid. Their sister has since undergone chemotherapy that has
11   extended her life past two weeks, but it is still a very serious day to day situation, and
12   Mr. and Mrs. Mirch still must visit their sister as soon as possible. Declaration of
13   Marie Mirch.
14           Meanwhile, Mr. and Mrs. Mirch’s brother in law passed away on November 4,
15   2021. Mrs. Mirch then took time to grieve and be with another sister to assist her and
16   her family with the loss of their loved on. Shortly thereafter, the Mirches learned that
17   Mr. Mirch’s 91 year old father was hospitalized for six days. Shortly thereafter, Mr.
18   Mirch’s mother suffered a fall and is currently being evaluated. Declaration of Marie
19   Mirch
20           On November 16, 2021, Marie and Kevin Mirch learned that they had been
21   exposed to Covid and subject to a mandatory 14 day quarantine. Mr. and Mrs. Mirch
22   have been attending to these important family health matters, and not able to complete
23   her legal work. See Declaration of Marie Mirch .
24           On November 29 , 2021, attorney Marie Mirch corresponded by email with the
25   Board Defendants’ counsel to ask if the moving defendants opposed this request for an
26   extension of time.    See Ex 1 to Declaration of Marie Mirch . Defense counsel
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28   MOTION EXTEND TIME                          5                 CASE NO.: 3:21-CV-04908-WHO
             Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 6 of 7



 1   responded that the State Defendants do not oppose Plaintiff’s extension request.
 2   Declaration of Marie Mirch .
 3                                   LEGAL AUTHORITY
 4          Federal Rule of Civil Procedure allows the Court to extend the time for good
 5   cause. Local Rule 6-1(b) requires a Court order to enlarge time that alters an event or
 6   deadline already fixed by Court. Plaintiff tried to get a stipulation, pursuant to L.R.
 7   6-2, but defense counsel preferred to state that the motion was not opposed. Id.
 8   Therefore Plaintiff is filing the present motion. Pursuant to L.R. 6-3.
 9                                            ARGUMENT
10          Good cause exists to grant this ex parte motion to extend the date to oppose the
11   motions and continue the hearing date. The hearing date of January 4, 2022 is well
12   beyond fourteen days from the date of this motion. The Plaintiff will suffer substantial
13   harm or prejudice if the Court does not change the time as the motion to dismiss will
14   be granted with prejudice, thus ending Plaintiff’s claims against these defendants.
15   Plaintiff has complied with Civil L.R. 37-1(a) by counsel meeting and conferring with
16   defendants’ counsel prior to bringing this motion. The nature of the underlying dispute
17   is a dispositive motion to dismiss.        There have been no previous extensions or
18   extension requests related to this matter. The requested time modification will have a
19   minimal effect on the schedule for the case. The Sutter Defendants have also filed a
20   motion to dismiss that is set to be heard on January 5, 2022. There has been no
21   discovery or trial set in this matter.
22   ///
23   ///
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28   MOTION EXTEND TIME                           6               CASE NO.: 3:21-CV-04908-WHO
             Case 3:21-cv-04908-WHO Document 63 Filed 12/03/21 Page 7 of 7



 1                                     CONCLUSION
 2         For the foregoing reasons Plaintiff respectfully requests the court enter an order
 3   extending the time for Plaintiff to file his opposition to the State Board Defendants’
 4   Motion to Dismiss to December 17, 2021.
 5         Respectfully submitted December 3, 2021.
 6                                                 By /s/ Marie Mirch
                                                     Attorney for Plaintiff
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28   MOTION EXTEND TIME                        7                 CASE NO.: 3:21-CV-04908-WHO
